                                Case
 Fill in this information to identify the 13-25155
                                          case:                               Doc            Filed 12/21/18                Page 1 of 4
B 10 (Supplement 2) (12/11)             (post publication draft)
 Debtor 1              Karen Odachowski
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                                                            MD
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                                                   (State)
 Case number            13-25155-RAG
                        ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                                                     10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information

                                  US Bank Trust National Association, asTrustee of the SCIG Series III Trust                         Court claim no. (if known):
 Name of creditor:                ______________________________________                                                             9
                                                                                                                                     _________________
                                                                                                                 8 ____
                                                                                                               ____ 3 ____
                                                                                                                        1 4____
 Last 4 digits of any number you use to identify the debtor’s account:

 Property address:                1674 Jarrettsville Rd.
                                  ________________________________________________
                                  Number     Street

                                  _______________________________________________

                                  Jarrettsville, MD 21084
                                  ________________________________________________
                                  City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:

  
  X     Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.

       Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date                                    $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

  
  X     Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:                                    12    1 2018
                                                                                                       ____/_____/______
                                                                                                        MM / DD   / YYYY

       Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                                              (a)   $ __________
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                                                     +   (b)   $ __________

        c. Total. Add lines a and b.                                                                                                             (c)   $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became                                     ____/_____/______
        due on:                                                                                         MM / DD / YYYY


Form 4100R                                                            Response to Notice of Final Cure Payment                                              page 1
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Debtor 1        Karen Odachowski
                _______________________________________________________                                              13-25155-RAG
                                                                                              Case number (if known) _____________________________________
                First Name      Middle Name              Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
   all payments received;
   all fees, costs, escrow, and expenses assessed to the mortgage; and
   all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

        I am the creditor.
  
  X      I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




                /s/ Michelle Ghidotti-Gonsalves
                   __________________________________________________
                   Signature
                                                                                              Date    12 21 2018
                                                                                                      ____/_____/________




 Print              Michelle Ghidotti-Gonsalves
                   _________________________________________________________                  Title   Authorized Agent
                                                                                                      ___________________________________
                   First Name                      Middle Name        Last Name




 Company           The Law Offices of Michelle Ghidotti
                   _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address           1920 Old Tustin Ave.
                   _________________________________________________________
                   Number                 Street


                   Santa Ana                  CA              92705
                   ___________________________________________________
                   City                                               State        ZIP Code




 Contact phone      949
                   (______) 427 _________
                            _____– 2010                                                             mghidotti@ghidottilaw.com
                                                                                              Email ________________________




Form 4100R                                                       Response to Notice of Final Cure Payment                                        page 2
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 1   Kristin Zilberstein, Esq. (SBN 200041)
     Michelle R. Ghidotti-Gonsalves, Esq. (SBN 232837)
 2   LAW OFFICES OF MICHELLE GHIDOTTI
 3   1920 Old Tustin Ave
     Santa Ana, CA 92705
 4   Ph: (949) 427-2010
     Fax: (949) 427-2732
 5   kzilberstein@ghidottilaw.com
 6
     Authorized Agent for Creditor
 7   US Bank Trust National Association, as Trustee of the SCIG Series III Trust
 8
                               UNITED STATES BANKRUPTCY COURT
 9
                          DISTRICT OF MARYLAND – BALTIMORE DIVISION
10
11   In Re:                                               )   CASE NO.: 13-25155
                                                          )
12   Karen L Odachowski,                                  )   CHAPTER 13
                                                          )
13
              Debtors.                                    )   CERTIFICATE OF SERVICE
14                                                        )
                                                          )
15                                                        )
                                                          )
16
                                                          )
17                                                        )
                                                          )
18                                                        )
19
20                                    CERTIFICATE OF SERVICE
21
              I am employed in the County of Orange, State of California. I am over the age of
22
23   eighteen and not a party to the within action. My business address is: 1920 Old Tustin Ave,

24   Santa Ana, CA 92705.
25            I am readily familiar with the business’s practice for collection and processing of
26
     correspondence for mailing with the United States Postal Service; such correspondence would
27
     be deposited with the United States Postal Service the same day of deposit in the ordinary
28
     course of business.


                                                      1
                                       CERTIFICATE OF SERVICE
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 1   On December 21, 2018 I served the following documents described as:
 2                  RESPONSE TO NOTICE OF FINAL CURE PAYMENT
 3
     on the interested parties in this action by placing a true and correct copy thereof in a sealed
 4
     envelope addressed as follows:
 5
 6   (Via United States Mail)
     Debtor                                               Chapter 13 Trustee
 7   Karen L Odachowski                                   Robert S. Thomas, II
     1674 Jarrettsville Road                              300 E Joppa Road, Suite 409
 8
     Jarrettsville, MD 21084                              Towson, MD 21286
 9
     Debtor’s Counsel
10   Edward C. Christman, Jr.
11   Christman & Fascetta, LLC
     810 Gleneagles Court
12   Suite 301
     Towson, MD 21286
13
14   _xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
     the United States Postal Service by placing them for collection and mailing on that date
15   following ordinary business practices.
16   ______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
17   Eastern District of California

18   __xx_(Federal) I declare under penalty of perjury under the laws of the United States of
     America that the foregoing is true and correct.
19
20           Executed on December 21, 2018 at Santa Ana, California

21   /s / Krystle Miller
     Krystle Miller
22
23
24
25
26
27
28




                                                      2
                                      CERTIFICATE OF SERVICE
